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May 19, 2020

Via ECF

The Honorable Laura Taylor Swain
U.S.D.C. Southern District of New York
Room 1620
500 Pearl Street
New York, NY 10007

           Re:       UBIQUITI INC. v. PERASO TECHNOLOGIES INC., et al., 20 Civ. 1312
                     (LTS) (GWG)

Dear Judge Swain,

        We represent Ubiquiti Inc., the plaintiff in the above-captioned matter. Pursuant to the
Court’s order of May 15, 2020, we write to advise the Court that the Defendants, through their
counsel, have stipulated to the filing of the Second Amended Complaint. The parties have also
stipulated that Plaintiff will file the Second Amended Complaint on or before May 22, 2020, and
Defendants will respond to the Second Amended Complaint on or before June 12, 2020.



                                                                  Respectfully submitted,



                                                                  Mario Aieta

Attachment

cc:        Jodyann Galvin, Esq.
           (counsel for Defendants)




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